      Case 1:19-cv-11438-PBS Document 60 Filed 02/11/20 Page 1 of 3



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
NUANCE COMMUNICATIONS, INC.,        )
                                    )
                     Plaintiff,     )
                                    )          Civil Action
v.                                  )          No. 19-11438
                                    )
OMILIA NATURAL LANGUAGE,            )
SOLUTIONS, LTD.,                    )
                                    )
                     Defendant.     )
______________________________      )

                   ORDER FOR PRETRIAL CONFERENCE

                          February 11, 2020

Saris, D.J.


     The above-captioned action is scheduled for a JURY TRIAL
commencing on 10/18/2021 at 9:00 AM and a PRETRIAL CONFERENCE on
10/6/2021 at 2:30 PM in Courtroom #19, 7th Floor, John Joseph
Moakley United States Courthouse, Boston, MA.

     Unless excused by the Court, each party shall be
represented at the pretrial conference by counsel who will
conduct the trial. Counsel shall confer with their clients and
with each other no later than 14 days before the pretrial
conference to explore the possibilities of settlement and shall
be prepared to advise the Court as to the prospects of
settlement.

          At least 30 days prior to the PRETRIAL CONFERENCE, by
9/6/2021, counsel for the parties shall individually file any
motions in limine regarding proposed expert testimony. Any
oppositions shall be filed at least 14 days prior to the
PRETRIAL CONFERENCE, by 9/22/2021.

     At least 14 days prior to the PRETRIAL CONFERENCE, by
9/22/2021, counsel for the parties shall jointly file the
following documents with the Court:


                                   1
      Case 1:19-cv-11438-PBS Document 60 Filed 02/11/20 Page 2 of 3




  1. A joint pretrial memorandum in accordance with L.R. 16.5(d)
     which sets forth the following information:

       a. a concise summary of the evidence that will be offered
          by plaintiff, defendant, and any other parties with
          respect to both liability and damages (including
          special damages, if any);

       b. a joint stipulation of facts agreed to by the parties;

       c. a concise summary of the contested issues of fact;

       d. any jurisdictional questions;

       e. any issues raised by pending motions;

       f. a concise summary of the contested issues of law,
          including evidentiary issues;

       g. the probable length of the trial based on a trial
          schedule of 9:00 AM to 1:00 PM daily;

       h. the names and city of residence of witnesses to be
          called and whether the testimony of any such witness
          is intended to be presented by deposition.

  2. A joint list of exhibits to be introduced without
     objection, identified by a single sequence of numbers,
     regardless of which party is the proponent of an exhibit.

  3. A joint list of marked exhibits to be offered at trial as
     to which an opposing party has reserved the right to
     object, identified by a single sequence of capital letters,
     regardless of which party is the proponent of an exhibit.

  4. A joint list of witnesses expected to testify at trial on
     behalf of each party with an estimate of the amount of time
     needed for the direct and cross examination of each
     witness.

  5. A joint list of deposition testimony to be used at trial by
     each party, identifying the portions to be used by page and
     line number, and any objections. If objections are to be
     reserved, rulings must be sought at least 7 days prior to
     trial. Parties shall confer before filing any objections.

     At least 14 days prior to the PRETRIAL CONFERENCE, by
9/22/2021, counsel for the parties shall individually file the


                                   2
      Case 1:19-cv-11438-PBS Document 60 Filed 02/11/20 Page 3 of 3



following documents with the Court:

  1. Trial briefs.

  2. Any motions in limine or other requests regarding
     foreseeable disputes concerning evidentiary issues or
     objections to deposition testimony. There shall be a limit
     of 5 motions in limine per side.

  3. Proposed jury instructions and any preliminary jury
     instructions.

  4. Proposed voir dire questions.

  5. Proposed verdict form.

     Any oppositions or responses to the pretrial filings listed
above shall be filed at least 7 days prior to the PRETRIAL
CONFERENCE, by 9/29/2021.

     In the event that the case has been settled before the
pretrial conference, counsel shall email and/or call the Deputy
Clerk and promptly submit closing papers. Compliance with this
order is not excused, absent the filing of closing papers or the
entry of a Settlement Order of Dismissal.

     If the Court reschedules the trial, all submission dates in
this order remain in effect unless counsel file a motion seeking
leave of Court to modify them to specifically designed dates.

     Failure to comply with any of the directions set forth
above may result in judgment of dismissal or default, or the
imposition of other sanctions deemed appropriate by the Court.


SO ORDERED.

                                 /s/ Patti B. Saris
                                 Hon. Patti B. Saris
                                 United States District Judge




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